                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )    No. 3:11-00012
v.                                               )    Judge Sharp
                                                 )
RAY OZEN [31]                                    )
DEZORICK FORD [32]                               )

                                            ORDER



       A jury trial for Defendants Ray Ozen and Dezorick Ford is scheduled to begin in this case

on Tuesday, May 6, 2014. However, on April 25, 2014, the Government filed a Second Superseding

Indictment (Docket Entry No. 2081), which added defendants and several additional counts

against Defendant Ford, including, murder in the course of discharging a firearm in furtherance of

a crime of violence in violation of 18 U.S.C §§ 2, 924(c)(1)(A) and 924(j). Based upon the filing of

the Second Superseding Indictment, the Court finds the jury trial must be continued as to Defendant

Ford Accordingly, the jury trial as to him currently scheduled for Tuesday, May 6, 2014, is

continued and will be rescheduled for a later date.

       As to Defendant Ozen, the May 6, 2014, trial will proceed. A final pretrial conference is

hereby scheduled for Friday, May 2, 2014, at 2:30 p.m.

               It is so ORDERED.




                                              KEVIN H. SHARP
                                              UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00012       Document 2100         Filed 04/29/14      Page 1 of 1 PageID #: 10999
